Case 3:21-cr-01586-JLS Document 123 Filed 08/30/23 PageID.389 Page 1 of 1



 1   KNUT S. JOHNSON (CSB 125725)
     LAW OFFICE OF KNUT S. JOHNSON
 2   655 West Broadway, Suite 900
 3   San Diego, California 92101
     (619) 232-7080 (Phone)
 4   knut@knutjohnson.com
 5
                          UNITED STATES DISTRICT COURT
 6
                        SOUTHERN DISTRICT OF CALIFORNIA
 7
     UNITED STATES,                          CASE NO: 21-cr-01586-JLS
 8
                    Plaintiff,
 9                                              NOTICE OF APPEAL,
              vs.
10                                              REQUEST FOR
     Jovany Gallardo,                           APPOINTMENT OF NEW
11
                    Defendant.                  COUNSEL
12

13

14
         TO: PLAINTIFF UNITED STATES OF AMERICA AND ITS
15   ATTORNEYS OF RECORD:
16       Notice is hereby given that Inmate, Defendant/Appellant, Jovany
17   Gallardo, hereby appeals to the United States Court of Appeals for the
18
     Ninth Circuit. This appeal is from the final judgment and sentence entered
19
     on August 25, 2023.
20
           Please take further notice the Defendant/Appellant also asks this
21

22   Court to appoint new counsel under the Criminal Justice as he wishes to
23   raise issues on appeal related to his trial counsel.
24   Dated:         August 28, 2023 Respectfully submitted,
25

26                                  __/s/ Knut Johnson____
                                    Knut S. Johnson, Esq.
27

28


                                                              21-cr-01586-JLS
